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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL
Case No. SACV19-00098 JLS (DFMx) Date February 26, 2020

 

 

Title Mariano Benitez v. Powerline Funding, LLC

 

 

Present: The Honorable Douglas F. McCormick

 

 

Nancy Boehme CS 02/26/2020
Deputy Clerk Court Reporter / Recorder
Attorneys Present for Plaintiffs: Attorneys Present for Defendants:
Taylor Smith Ingrid Rainey
Proceedings: Telephonic Discovery Conference

Cause called and counsel make their appearances. Court and counsel confer
regarding discovery issues. Court sets further hearing for March 5, 2020, at 9:30 am.

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Initials of Clerk nb

 

 

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